                     UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

IN RE:                                      §      CASE NO. 18-10364-HCM
VICTORIA ANN GUTWEIN                        §
DEBTOR                                      §      CHAPTER 7

          ORDER GRANTING AMENDED APPLICATION TO EMPLOY
           THE SCHULTZ LAW FIRM P.C. AS GENERAL COUNSEL
                 FOR RON SATIJA, CHAPTER 7 TRUSTEE

       Before the Court is the Amended Application to Employ The Schultz Law Firm

P.C., As General Counsel for Ron Satija, Chapter 7 Trustee filed on June 24, 2019

(docket #16).    The Court after considering the evidence, finds that the Application is

well taken and should be GRANTED.

       IT IS THEREFORE ORDERED that the Trustee is authorized to employ The

Schultz Law Firm P.C. as General Counsel in this case.

       IT IS FURTHER ORDERED that settlement funds shall not be disbursed

without prior court approval.

                                         ###
/s/ Stephen Matthew Schultz

STEPHEN MATTHEW SCHULTZ
STATE BAR NUMBER 24025638
The Schultz Law Firm PC
The Penthouse, Suite 104
1212 Guadalupe Street
Austin, Texas 78701
Telephone: (512) 472-7792
Facsimile: (512) 472-7784
Electronic Mail: stephen@tslf.com

(PROPOSED) GENERAL COUNSEL FOR RON SATIJA, CHAPTER 7
TRUSTEE
